       Case 1:17-cv-23177-KMW Document 11 Entered on FLSD Docket 06/18/2018 Page 1 of 1
     U.S.Departm entofJustice
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                                    3.NOTICE OF SERVICE
                                    4.BILLING STATEM ENT#:TobereturnedtotheU.S.M arshalwithpayment,
                                      ifanyamountisowed.Pleaserem itpromptlypayabletoU.S.M arshal.                                                                                                                              Form USM -285
                                    5.ACKNOW LEDGM ENT OF RECEIPT                                                                                                                                                                   Rev. 11/13
